Case 1:18-cr-10364-DPW Document 223 Filed 05/11/21 Page 1 of 10

 

CASE NAME: United States v. Jasiel F. Correia, II

 

CRIMINAL CASE NO. 18-10364-DPW

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EXHIBIT LIST
Exhibit Offered through |Date
Description of Exhibit . ,
Number: P Witness: Admitted
l Citizens Bank records for Common Solutions Mendes 4/26/2021
2 Email from Mendes to Correia re Tax Forms Mendes 4/26/2021
3 2010 Tax Forms for Common Solutions Mendes 4/26/2021
4 2011 Tax Forms for Common Solutions Mendes 4/26/2021
5 Jan 4 2013 email from Correia re agreements to Parayno 4/26/2021
be signed and notarized
Citizens Bank account opening documents Parayno 4/26/2021
May 2013 1Zero4 Business Plan Vlahos 4/26/2021
71 “ clip of 1Zero4 Grand Opening October 21, Vlahos 4/26/2021
8 August 2013 SnoOwl Business Plan Vlahos 4/26/2021
9 Jan. 16, 2013 Investment Agreement Cabeceiras 4/26/2021
10 Copies of Mechanic's checks and deposit slips Cabeceiras 4/26/2021
1 Chart of Investment Checks to SnoOwl and Cabeceiras 4/26/2021
Correia
1/5/2014 Email from Cabeceiras to Correia re .
12 SnoOwl App 2014 Cabeceiras 4/27/2021
13 12/20 14 SnoOwl Purchase Agreement with Cabeceiras 4/27/2021
Convertible Promissory Note
14 9/4/2015 Letter from Correia to Cabeceiras Cabeceiras 4/27/2021
11/23/2015 Email from Cabeceiras to Bernier re .
15 SnoOwl Investor Meeting Cabeceiras 4/27/2021

 

 

 

 

 
Case 1:18-cr-10364-DPW Dagument 223 Filed 05/11/21 Page 2 of 10
18-10364-DPW

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

16 Mar 17 2016 Email from Cabeceiras to Bernier re Cabeceiras 4/27/2021
Josh
19 Miller Investment Agreement August 2013 Miller 4/27/2021
20 Miller $50,000 Aug 2013 investment check Miller 4/27/2021
4] Aug | 2014 Email from Correia to Miller re Miller 4/27/2021
Email 1 of 3
11 Aug 25 2014 Email from Correia to Miller re Miller 4/27/2021
Brief update
22 12/19/2014 Note Purchase Agreement Miller 4/27/2021
23 12/21/2014 Miller Investment Agreement Letter Miller 4/27/2021
24 January 2015 Note Purchase Agreement Miller 4/27/2021
25 Miller $20,000 Jan 2015 investment check Miller 4/27/2021
6.1 Nov 5 2014 Email chain re equity stake and with Eisenberg 4/27/2021
Business Plan
26.2 November 2014 SnoOwl Business Plan Eisenberg 4/27/2021
26.3 Nov 8 2014 Email re SnoOwl Followup Eisenberg 4/27/2021
27] Nov 18 2014 email from Correia to Martinez and Eisenberg 4/27/2021
Eisenberg re Investor Agreement
272 Investment Agreement for SnoOw! Nov 18 2014 Eisenberg 4/27/2021
for Mark Eisenberg
28 Eisenberg $25,000 Nov 2014 investment check Eisenberg 4/27/2021
31 Nov 5 2015 email from Bernier to Eisenberg, Eisenberg 4/27/2021
Martinez and Correia re update please
33 Shane Realty Lease Agreement with SnoOwl Tod 4/29/2021
34 Spreadsheet of Shane Landing Rental Payments Tod 4/29/2021
35 Checks to Shane Realty Tod 4/29/2021
36 Martinez $25,000 Nov 2014 check Martinez 4/27/2021
Dec 2015 - Apr 2016 email chain from Bernier to :
37 Correia re SnoOwl Update - New CEO Bernier 4/28/2021
38 Chart of Garcia Checks Garcia 4/27/2021
39 Garcia checks Garcia 4/27/2021
40 Garcia Signed Investment and Note Purchase Garcia 4/27/2021
Agreements
41 May 2014 Statewide Work Proposal Harding 4/28/2021

 

 

 

 

 
Case 1:18-cr-10364-DPW Dagument 223 Filed 05/11/21 Page 3 of 10

18-10364-DPW

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

42 Summary of payments from SnoOwl to Statewide Harding 4/28/2021
B31 Mar 31 2015 Email from Harding to Correia re Harding 4/28/2021
Receipt for Router
11/16/2015 email from Eisenberg to Martinez re .
“4 What's going on with SnoOwl? Harding 4/28/2021
45 11/17/2015 Harding email to Eisenberg re Harding 4/28/2021
Investor Meeting
46 9/5/2017 Blasi email to Correia, Harding et al re Harding 4/28/2021
withdrawing as counsel
49 April 2015 SnoOwl Business Plan Bernier 4/28/2021
50 May 2015 SnoOwl Business Plan Bernier 4/28/2021
51 Sheehan Memorandum of Understanding signed Bernier 4/28/2021
52 Sheehan due diligence checklist Sheehan 4/28/2021
53 7/9/2015 SnoOwl Business Plan Sheehan 4/28/2021
54 4/29/2016 email from Sheehan to Correia re not Sheehan 4/28/2021
providing documents
55 pel email extending MOU doc date to June Bernier 4/28/2021
56 1/26/2017 Sheehan letter to SnoOwl Sheehan 4/28/2021
57 Email chain with Sheehan, Spirako and Correia re Sheehan 4/29/2021
Hawkeye License Agreement
SnoOwl $3k check to Childrens Aquarium of
58.1 Greater Fall River Ahaesy 4/29/2021
58.2 Photo of Correia at Children's Aquarium in Fall Ahaesy 4/29/2021
River
$4k check made out to Flint Merchants
59-1 | Association dated 9/4/2013 Cesar 4/29/2021
Flint Merchant's Association Meeting Minutes for
59.2 July and September 2013 Cesar 4/29/2021
60 Arias Jewlers checks Arias 4/29/2021
60.1 Chart of Arias Jewlers checks Arias 4/29/2021
61 2013 Certified Federal Tax Returns (1040) Vieria 4/30/2021
62 2013 Return Verification Form Vieria 4/30/2021
62.1 2013 Client Data Sheet Vieria 4/30/2021
63 2014 Certified Federal Tax Returns (1040) Vieria 4/30/2021
64 2014 Return Verification Form Vieria 4/30/2021

 

 

 

 

 
Case 1:18-cr-10364-DPW Dagyument 223 Filed 05/11/21 Page 4 of 10
18-10364-DPW

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

64.1 2014 Client Data Sheet Vieria 4/30/2021
65 Citizens Bank records for SnoOwl/SnoKimo Lemanski 4/30/2021
65.1 Summary Chart of Unreported Income Lemanski 4/30/2021
66 BayCoast Bank records for SnoOwl Bernier 4/28/2021
67 Santander Bank records for Correia's personal Lemanski 4/30/2021
checking account
68 Citibank records for Correia credit card account Lemanski 4/30/2021
SnoOwl Investor Chart .
69 (For Demonstrative Purposes Only) Lemanski
70 Sallie Mae records for Correia Lemanski 4/30/2021
71.1 Autobahn records - Correia Lemanski 4/30/2021
71.2 Rockland Federal Credit Union records re Lemanski 4/30/2021
72 Amazon records Lemanski 4/30/2021
73 Neiman Marcus records Cleveland 4/29/2021
74 Lululemon records Lemanski 4/30/2021
75 Tiffany Co records Lemanski 4/30/2021
75.1 Excerpted Tiffany Co records Cleveland 4/29/2021
76 The Pearl Factory records Cleveland 4/29/2021
77 Chatham Bars Inn records Cleveland 4/29/2021
V7.1 Intercontinental Hotel records Cleveland 4/29/2021
78 Birds Eye View Helicopters records Lemanski 4/30/2021
79 Premier Yachts records for the Odyssey Cruise Cleveland 4/29/2021
80 AA Island Rental records (ATVs) Cleveland 4/29/2021
81 The Chanler At Cliff Walk records Cleveland 4/29/2021
82 Reynolds Dewalt records re campaign signage Lemanski 4/30/2021
83 SnoOw!l Inc. Grand Jury Subpoena Production Lemanski 4/30/2021
85 SnoOwl Expenditures Chart Lemanski 4/30/2021
86 Chart of Investor Funds Lemanski 4/30/2021
87 Professional Fitness records Lemanski 4/30/2021
88 Spreadsheet of Student Loan Payments Lemanski 4/30/2021
89 Pie Chart of personal purchases Lemanski 4/30/2021
90 Pie Chart of Donations and Campaign Expenses Lemanski 4/30/2021
91 Pie Chart of Hotel Expenses Lemanski 4/30/2021
92 Pie Chart of Dining Expenses Lemanski 4/30/2021
93 Pie Chart of Transportation Expenses Lemanski 4/30/2021
94 Pie Chart of Credit Card/ Other loan payments Lemanski 4/30/2021

 

 

 
Case 1:18-cr-10364-DPW Dagument 223 Filed 05/11/21 Page 5 of 10
18-10364-DPW

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

95 Pie Chart of Non-Adult Entertainment Expenses Lemanski 4/30/2021
97 PayPal invoice for Kate Spade Cleveland 4/29/2021
98 Suitsupply records (excerpted) Cleveland 4/29/2021
98.1 Suitsupply records Lemanski 5/6/2021
99 Chart of Personal Travel with Natalie Cleveland Cleveland 4/29/2021
100 Charest Immunity Letter Charest 4/29/2021
101 en 6 Engagement letter with Carreiro for Charest 4/29/2021
102 5/24/2016 Engagement letter for agreed upon Charest 4/29/2021
procedures
103 IRS EIN Letter SnoOwl doc 11/27/2012 Charest 4/29/2021
104 SnoOwl Status Report Charest 4/29/2021
105 2013 Exchange Account worksheet Charest 4/29/2021
106 2013 Due from Jasiel Worksheet Charest 4/29/2021
107 2014 Due from Jasiel Worksheet Charest 4/29/2021
108 Sept 16 2016 Charest Letter to Carreiro re status Charest 4/29/2021
109 Charest PBC list — things Correia needs to Charest 4/29/2021
complete engagement
110 Internal memo saying can’t summarize findings Charest 4/29/2021
11 2013 Due from Jasiel final pass Charest 4/29/2021
111.1 2014 Due from Jasiel final pass Charest 4/29/2021
112 Email from Charest to Carreiro re Proposals Charest 4/29/2021
113 May 06 2017 tax prep engagement letter Charest 4/29/2021
114 TC year-end file for SnoOw! summary doc - 2013 Charest 4/29/2021
115 TC — 2013 tax workpapers file Charest 4/29/2021
116 TC - 2014 tax workpapers file Charest 4/29/2021
117 2013 and 2014 Statements of Revenue and Charest 4/29/2021
Expenses
118 Noto Amended Tax Return for 2013 Charest 4/29/2021
119 Correia Certified Amended Tax Return for 2014 Charest 4/29/2021
(1040X)
119.1 2015 Due from Jasiel Charest 4/29/2021
120 Brayton Immunity Order Brayton 5/3/2021

 

 
Case 1:18-cr-10364-DPW Dagument 223 Filed 05/11/21 Page 6 of 10
Vv. Correia
18-10364-DPW

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

121 Photo of Globe St. Xiphias Location Brayton 5/3/2021
122 Photo of Globe St. Xiphias Location Brayton 5/3/2021
123 Photo of Dunkin Donuts - Camara Meeting Brayton 5/3/2021
124 Photo of Costa Residence - 5022 North Main Brayton 5/3/2021
Street
125 san newport $100k check to Costa dated Brayton 5/3/2021
126 7/14/16 Non-Opposition Letter Brayton 5/3/2021
127 Signed Brayton Host Community Agreement Brayton 5/3/2021
129 Costa Plea Agreement Costa 5/3/2021
130 Costa Cooperation Agreement Costa 5/3/2021
130.1 Costa Signed Proffer Letter Costa 5/3/2021
130.2 Costa Target Letter Costa 5/3/2021
12/19/2014 email from Correia with cc to Bernier
131 - re SnoOwl investment docs to Costa Costa 9/3/2021
131.1 Costa SnoOwl docs Costa 5/3/2021
131.2 $10k check from Costa to SnoOwl Costa 5/3/2021
132 Photo of Costa Residence - 5022 North Main Costa 5/3/2021
Street
133 Photos of Mayor's vehicle Costa 5/3/2021
134 Photo of 379 Kilburn Costa §/3/2021
135 Text exchange between Costa and Silva received Costa 5/3/2021
from Silva
136 Batman Rolex photo (from Silva) Costa 5/3/2021
137 Photo of 255 S. Main Street Costa 5/3/2021
138 $3,900 Check to Costa Property Costa 5/3/2021
139 Excerpted texts between Costa and Bairos from Costa 5/3/2021
Bairos cell phone extraction
140 Photo of 207 Sterling (where Bairos paid) Costa $/3/2021
141 Photo of Camara's Shed Costa 5/3/2021
142 Photo of Cumberland Farms Costa 5/3/2021
143 Silva Immunuity Agreement Silva $/3/2021
144 Photo of Silva's Store Silva 5/3/2021
145.1 Photo of Batman Wall Clock Silva 5/3/2021
145.2 Photos of Milgauss & Yacht Master watches Silva 5/3/2021

 

 

 

 
Case 1:18-cr-10364-DPW Dagument 223 Filed 05/11/21 Page 7 of 10

18-10364-DPW

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

146 Trench Permit Application (3/9/17) Khoury 5/4/2021
147 Trench Permit (3/9/17) Khoury 5/4/2021
148 Khoury Excavating Invoice (July 2017) Khoury 5/4/2021
149 City of Fall River Purchase Order (Sept. 2017) Khoury 5/4/2021
150 Narrative Summary Approval Process Macy 5/4/2021
152 Saliby Host Community Agreement (25/50) Macy 5/4/2021
153 Andrade Personnel File (excerpted) Macy 5/4/2021
154 Andrade Ethics Disclosures Macy 5/4/2021
155 Correia Ethics Disclosures Macy 5/4/2021
156 Correia Aug 2019 Veto & Proposed Ordinance Macy §/4/2021
157 Video clip of Oct 21 2015 Mayoral Debate Lemanski 4/30/2021
159 Bairos Immunity Agreement Bairos 5/4/2021
160 Excerpted texts between Bairos and Correia Bairos 5/4/2021
162 July 2, 2018 Non-opposition letter Bairos §/4/2021
163.1 BOA bank statement re Ocean Prime Jun 2018 Bairos 5/4/2021
BOA bank statement showing Jun 29 2018 cash .
163.2 withdrawals of $5k from Bairos account Bairos 5/4/2021
BOA bank statement showing Jul 3 2018 cash .
163.3 withdrawal of $10k from Bairos account Bairos 3/4/2021
BOA bank statement showing Jul 20 2018 cash :
163.4 withdrawal of $50k from Bairos account Bairos 9/4/2021
163.5 BOA bank statement re Tel Aviv Sept 2018 Bairos 5/4/2021
164 Camara Plea Agreement Camara 5/4/2021
165 Camara Cooperation Agreement Camara §/4/2021
166 Camara Proffer Letter Camara §/4/2021
167 12/19/2014 email from Correia with cc to Bernier Camara 5/4/2021
- re SnoOwl investment docs to Camara
167.1 Camara SnoOwl signed documents Camara 5/4/2021
167.2 $10k check from Camara for SnoOwl Camara 5/4/2021
168 Harkins Immunity Agreement Harkins 5/5/2021
169.1 Farkins Northeast Alternatives Non-Opposition Harkins 5/5/2021

 

 
Case 1:18-cr-10364-DPW Dogument 223 Filed 05/11/21 Page 8 of 10
US v. Correia

18-10364-DPW

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

169.3 JH Holdings Bounced Check to Defense Fund Harkins 5/5/2021
Apr 13 2018
169.4 Apr 13 2018 Harkins-Northeast Alternatives Host Harkins 5/5/2021
Community Agreement
169.5 Email from Ethics Commission to Correia Harkins 5/5/2021
169.6 $20k JH Holdings Check Apr 02 2018 Harkins 5/5/2021
170 Consultant Agreement executed 6/2018 Harkins 5/5/2021
171 $4,000 Consulting Check Harkins 5/5/2021
173 Aug 2018 Andrade/Harkins Texts Harkins 5/5/2021
174 Pichette Immunity Letter Pichette 5/5/2021
175 Pichette sheet accounting for checks Pichette 5/5/2021
176 Pichette Check Images Pichette §/5/2021
177 Excerpted Texts between Hebert and Pichette Pichette 5/5/2021
178 Email dated Jul 27 2018 from Hebert to Pichette Pichette 5/5/2021
re consulting agreement
179 Photo of Smoke Shop Pichette 5/5/2021
180 Aug 17 2018 Loop Cultiv. Non-Opposition Letter Pichette 5/5/2021
181 Aug 17 2018 Prem. Edibles Non-Opposition Pichette 5/5/2021
Letter
188 Saliby Immunity Letter C. Saliby 5/5/2021
189 Map of proposed location C. Saliby 5/5/2021
190 Photo of Convenience Store Exterior C. Saliby 5/5/2021
191 Photo of Convenience Store Exterior C. Saliby 5/5/2021
192 Photo of Convenience Store Interior C. Saliby 5/5/2021
193 Photo of Convenience Store Interior C. Saliby 5/5/2021
194 Photos of Guimond Farms (interior office) C. Saliby 5/5/2021
Replica Contractor's Clipboard .
195 (For Demonstrative Purposes Only) C. Saliby
Photo of fake cash .
196 (For Demonstrative Purposes Only) C. Saliby
197 Saliby Non-Opposition Letter C. Saliby 5/5/2021
198 Saliby Text Excerpt Jun 25 2018 Custadio 5/5/2021
199 Camara Appointment Letter - Bristol County Camara 5/4/2021
Training Consortium
201 T-Mobile records for 508-496-1433 (Correia) Lemanski 5/6/2021

 

 

 

 

 
Case 1:18-cr-10364-DPW Dagument 223 Filed 05/11/21 Page 9 of 10

 

 

 

 

orreia
18-10364-DPW
202 T-Mobile records for 508-922-9298 (Costa) Lemanski 5/6/2021
203 Sprint records for 508-801-9086 (Camara) Lemanski 5/6/2021
204 Sprint records for S08-922-9298 (Costa) Lemanski 5/6/2021
205 AT&T records for 401-644-2697 (Brayton) Lemanski 5/6/2021

 

Fall River Municipal Credit Union records for

206 :
Correia account

Lemanski 4/30/2021

 

207 Mechanics Bank records for Friends of Jasiel Lemanski 5/6/2021
Correia account 7129

 

Mechanics Bank records for Defense Funds

 

 

 

 

 

 

 

 

 

 

 

208 Lemanski 5/6/2021
account 0288
209 Boch Toyota records for Correia Lemanski 5/6/2021
210 Bank Five records for Gen Andrade Lemanski 5/6/2021
211 Summary Phone Contact Chart Lemanski 5/6/2021
212 Andrade Payments to Correia Summary Chart Lemanski 5/6/2021
Mechanics Bank Statement for Antonio Costa .
213 Property Memt July 2016 Lemanski $/6/2021
214 Cash Deposits to Correia FRMCU account Lemanski 5/6/2021
215 Cash Purchases from Correia FRMCU account Lemanski 5/6/2021
336 May 6 2016 Letter from Carreiro Phillis, PLLC Bernier 4/28/2021
to Terrance Charest re Jasiel Correia, II
337 Oct 21 2015 email from Steven Argentieri to Bernier 4/28/2021
Bernier re Patent Application
Feb 5-6, 2015 email chain with Sarah Harding,
338 Bernier, and Correia re Sarah - Invoices for Bernier 4/28/2021
SnoOwl
Feb 25 2016 email from Bernier to Jared Fine
339 (Goodwin Proctor) and Correia re Delaware Bernier 4/28/2021

Domestic Corporation

 

340 Jan 27 2016 email from Cabeceiras to Bernier re Bernier 4/28/2021
Any updates on SnoOwl?

 

Feb 19 2019 email from Bernier to Cabeceiras
341 and Correia re SnoOwl Updated - New Bernier 4/28/2021
Investor/Acquisition Contacts

 

Nov 21-23 2016 texts between Bernier and

 

 

 

342 . Bernier 4/28/2021
Correia

343 Dec 5 2016 texts between Bernier and Correia Bernier 4/28/2021

344 Photo of Camara and Costa on boat Camara §/5/202 1

 

 

 

 

 
Case 1:18-cr-10364-DPW Document 223 Filed 05/11/21 Page 10 of 10

ol

 

TZOz/S/S

oneyold

Soyo pue Leqapy Jo ojoyd

She

 

MdQ-P9COI-81
BIDIOD ‘A SA)
